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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                 GREENBELT DIVISION



KILMAR ARMANDO ABREGO GARCIA,
et al.,

                           Plaintiffs,
           v.
                                                     Case No. 8:25-cv-00951 (PX)
KRISTI NOEM, Secretary of the Department of
Homeland Security, et al.,

                           Defendants.



 Defendants’ Interim Motion to Seal Defendants’ Privilege Log in Response to the Court’s
                                         Order

       Pursuant to Local Rule 105.11 and the parties Stipulated Confidentiality Order, ECF No.

95, Defendants move to seal the accompanying Privilege Log submitted in response to the Court

Order at ECF 134.

       Defendants represent the following facts to justify sealing under Local Rule 105.11. The

parties’ Stipulated Confidentiality Order requires a party to file under seal any materials that have

been designated as Confidential or Attorney’s Eyes Only. In particular, paragraph 2 of the

Confidentiality Order states:

                To the extent that any materials designated as Confidential or
                Attorney’s Eyes Only under this Confidentiality Order (or any
                pleading, motion, or memorandum disclosing them) are proposed to
                be filed or are filed with the Court, the portions of those materials
                containing Confidential or Attorney’s Eyes Only information shall
                be redacted by the filing party. Non-redacted versions shall be filed
                under seal (by the filing party) with the Clerk of the Court with a
                simultaneous motion pursuant to L.R. 104.13(c) (hereinafter the
                “Interim Sealing Motion”), in accordance with the current version
                of the Court's Electronic Filing Requirements and Procedures for
                Civil Cases. The Interim Sealing Motion shall be governed by L.R.
                105.11, provided that the Court can deny an Interim Sealing Motion


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              prior to 14 days in part or in full. Even if the filing party believes
              that the materials designated as Confidential or Attorney’s Eyes
              Only are not properly classified as Confidential or Attorney's Eyes
              Only, the filing party shall file the Interim Sealing Motion; provided,
              however, that the filing of the Interim Sealing Motion shall be
              wholly without prejudice to the filing party rights under paragraph
              (4) of this Confidentiality Order.

ECF No. 95.

       The Court’s Order at ECF 134 orders the Defendants to file the Privilege Log as a part of

the submission asking for Supplemental Briefs on Plaintiffs’ Request for Leave to File a Motion

to Compel. Defendants have designated the Privilege Log as “Confidential” and “Attorney’s Eyes

Only” under the Stipulated Confidentiality Order because they contain “sensitive government

information.” An Excel version of the document will be made available to the Court for its

cononvenience.    Publicly disclosing that sensitive information would likely harm ongoing

diplomatic negotiations.

                                    Respectfully submitted,



                                             Yaakov M. Roth
                                             Acting Assistant Attorney General
                                             Civil Division

                                             s/Drew C. Ensign
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Dated: May 13, 2025                          Counsel for Defendants




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                                CERTIFICATE OF SERVICE

       I certify that on May 13, 2025, I caused to be filed the foregoing document via CM/ECF,

which caused a copy to be served on all parties.


                                             /s/ Drew Ensign
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